Case 1:25-cv-00778-LLA   Document 35-4   Filed 04/18/25   Page 1 of 2




                 Exhibit C
               Case 1:25-cv-00778-LLA     Document 35-4       Filed 04/18/25   Page 2 of 2




Inter-American Foundation Statutory Requirements
Nate Cavanaugh - Q2 <             @gsa.gov>                                     Fri, Feb 21, 2025 at 4:27 PM
To:              ,
Cc: Ethan Shaotran - AD <                  >,

 Inter-American Foundation
 Statutory Requirements
        The Foundation shall undertake or sponsor “appropriate research and by planning, initiating,
        assisting, financing, administering, and executing programs and projects designed to
        promote the achievement” of the Foundation’s goals. 22 U.S.C. § 290f(c).
        9-member Board of directors. 22 U.S.C. § 290f(g).
        Shall reimburse Board members for travel expenses. 22 U.S.C. § 290f(h).
        Shall appoint a President as CEO, who receives compensation for level IV ES. 22 U.S.C. §
        290f(l)(1).
        Shall be a Council with an unspecified number of members to consult the Board; no salaries,
        but get reimbursed for travel. 22 U.S.C. § 290f(m).
        Need a principal office in DC. 22 U.S.C. § 290f(q).
